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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

MARCI MARIE WEBBER,                 )
          Petitioner,               )
                                    )
     v.                             )      No. 1:21-cv-5444
                                    )      Judge Charles P. Kocoras
RICARDO FERNANDEZ, IDHS             )
          Respondent.               )
                                    )

            PETITIONER’S AMENDED PETITION FOR A WRIT OF
              HABEAS CORPUS PURSUANT TO 28 U.S.C. §2254




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        Petitioner, MARCI MARIE WEBBER, by and through her appointed counsel,

JOSHUA G. HERMAN, and pursuant to 28 U.S.C. §2254, the Rules Governing Proceedings in

the United States District Courts under 28 U.S.C. §2254, and the Fifth and Fourteenth

Amendments to the United States Constitution, respectfully submits this Amended Petition for a

Writ of Habeas Corpus, through which she requests that the Court order her discharge or release

from the ongoing custody of the Illinois Department of Human Services (“IDHS”) and any other

relief consistent with this Petition. An evidentiary hearing is requested should the Court deem

one necessary to grant the relief requested herein; however, it is further asserted that the

constitutional violations caused by Webber’s ongoing confinement are manifest from the record

and should be remedied in her favor based on the pleadings.

I.      INTRODUCTION

        Every day that Webber is forced to remain in IDHS custody against her will is an

unconstitutional deprivation of her liberty interests and basic freedoms. She remains confined in

an inpatient mental health facility even though she was found not guilty based on insanity

(NGRI) on June 7, 2012, for the murder of her young daughter. She is locked in the mental

facility despite the fact that on December 11, 2019, the Circuit Court of DuPage County (the

“Trial Court”)—the same court that acquitted her—ordered that she be conditionally released

from IDHS after concluding that she was not a danger to herself due to a mental illness, and after

further finding that she would never receive adequate mental health care in IDHS.

        Her unconstitutional confinement is due to the June 9, 2021, order by the Illinois Court of

Appeals for the Second District (“Appellate Court”), which improperly reversed the Trial

Court’s decision to grant Webber conditional release from confinement. The Appellate Court

erroneously ordered that Webber remain confined even though it never found that Webber was



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dangerous because of an existing mental illness.              The Appellate Court’s finding thus was

contrary to and unreasonably applied Foucha v. Louisiana, 504 U.S. 71 (1992), the clearly

established federal law. Instead of finding that Webber was dangerous, the Appellate Court

required Webber to show by clear and convincing evidence that “she would not reasonably be

expected to inflict harm upon herself if granted conditional release” and further relied on a

“potential” and even hypothetical standard of dangerousness. Ex. C, People v. Webber, 2021 IL

App 2d 191090-U, ¶54.1           Thus, the Appellate Court effectively ordered Webber confined

because she could not prove the absence of potential future dangerousness. That is an

unconstitutional burden that erodes Foucha’s standard of “dangerousness,” which must be

proven before depriving an insanity acquittee of her liberty.

        Moreover, the Appellate Court unreasonably applied the facts that were before the Judge

George J. Bakalis of the Trial Court, who presided over the matter for close to 10 years. During

that tenure, Judge Bakalis presided over the NGRI trial, two conditional release hearings, and

had multiple opportunities to observe and interact with Webber directly both as a represented and

pro se litigant.     Judge Bakalis reasonably found that continued confinement provided no

therapeutic benefit to Webber, including after questioning the testimony of the IDHS witnesses

and the veracity of information in their reports. The Appellate Court effectively relied on the

testimony of a single doctor who had met with Webber for a mere five hours; reviewed records

that did not support her ultimate diagnosis; never performed any testing, and at most testified that

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  The Appellate Court record is attached hereto, along with the relevant appellate briefs, petition for leave
to appeal, and petition for certiorari. For ease of reference, the different records are identified as separate
Exhibits. Due to size limitations for e-filed exhibits, it was necessary to divide certain voluminous
portions of the record, specifically the common law record (which is divided into two files) and the
reports of proceedings (which involve four separate files, that are each subdivided into smaller files for
the purpose of e-filing). When possible, those parts of the record are identified by Exhibit number as
well as the pinpoint record citation. For instance, the citation Ex. K4, R. 1450 refers to page 1450 of
Exhibit K, which is part of the report of proceedings and was divided into five separate files for the
purpose of e-filing. A separate index will be filed for the exhibits and state court record.


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Webber could potentially be a danger to herself if she did not have access to therapeutic support

systems—systems that the Trial Court ensured that Webber had prior to ordering conditional

release. To show that Webber could potentially be a danger to herself in the future if released

from IDHS, the Appellate Court pointed only to a 2017 suicide attempt that occurred inside

IDHS, was caused by situational stress, and was not followed by any other attempts at self-harm.

The Appellate Court simply ignored the manifest weight of the evidence and testimony from

multiple mental health professionals who opined over the years that Webber was not a danger to

herself or others and that she did not even have an existing mental illness.

       Importantly, while several years have passed since the Trial Court’s December 11, 2019,

order granting Webber conditional release, the urgency for release remains. As the Trial Court

astutely observed in 2019, Webber is not receiving and never will receive adequate treatment in

IDHS, which she described as a “hell” where she was repeatedly attacked by other inpatients.

The Trial Court also recognized that Webber had a detailed release plan, a support network, and

trusted therapists outside of IDHS. Yet, the Appellate Court ignored the record as it was

determined to keep Webber locked away, perhaps motivated more by the nature of the offense

for which Webber was acquitted. But the constitution demands more, and the clear remedy for

the ongoing confinement of a non-dangerous acquittee is release.

       This amended petition begins by generally following the format of the approved form for

habeas corpus petitions submitted by persons in custody. See Local Rule 81.3(a). However,

many of the items requested in the approved form are inapplicable given the procedural posture

of Webber’s habeas petition. Following counsel’s efforts to provide the pertinent information

requested in the approved format, this amended petition provides further detail of the procedural




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history prior to presenting Webber’s claims for habeas relief and arguments in support of the

same.

II.      INFORMATION PROVIDED PURSUANT TO
         APPROVED HABEAS CORPUS FORM (LR 81.3(a))

         1. Name and location of court where conviction entered:

                Circuit Court of DuPage County, 18th Judicial Circuit
                505 N. Country Farm Road
                Wheaton, Illinois 60187

                Second District Appellate Court
                55 Symphony Way
                Elgin, Illinois 60120

         2. Date of judgment of acquittal by reason of insanity :

                Not Guilty by Reason of Insanity Verdict
                June 7, 2012

                People of the State of Illinois v. Marci Webber, Case No. 10 CF 2643
                (Circuit Court of DuPage County)

         3. Offenses of which Petitioner was acquitted by reason of insanity:

                Murder (720 ILCS 5/9-1(a)(1), (2) (Counts 1 through 5) (C 211-216)

         4. Sentence imposed:

                N/A. Petitioner was acquitted by reason of insanity, and initially ordered
                committed to custody of Illinois Department of Human Services for inpatient
                treatment.

         5. Plea:

                Not Guilty

         PART I: TRIAL AND DIRECT REVIEW

         1. Kind of trial:
               Bench Trial

         2. Webber did not testify at trial




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   3. Petitioner appealed from the conviction and sentence imposed.

      No appeal was taken after the acquittal by reason of insanity on June 7, 2012.
      Following the Trial Court’s granting of Webber’s petition for conditional release on
      December 11, 2019, the State appealed.

          A. Direct Review

                   1) Name of Court:

                        Illinois Appellate Court, Second Division

                   2) Result:

                        Reversed, People v. Webber, 2021 IL App (2d) 191090-U
                        (Exhibit C).

                   3) Date of Ruling:

                        June 9, 2021

                   4) Issues Raised by State in its appeal:

                        i.      Whether the trial court erred in finding that defendant,
                                acquitted of the first degree murder of her daughter after a
                                finding of not guilty by reason of insanity, should be
                                released from inpatient treatment after failing to show that
                                she is not a danger to herself or others.


   4. Mr. Webber sought leave to appeal to the Illinois Supreme Court.

          A. (1) Webber’s Petition for Leave to Appeal was denied

             (2) The date of this denial was on March 26, 2008 (People v. Webber, 2021
                 Ill. LEXIS 777 *; 175 N.E.3d 111; 447 Ill. Dec. 743; 2021 WL 4592168
                 (Exhibit G).


   5. Mr. Webber petitioned the United States Supreme Court for a writ of certiorari on
      December 30, 2021. (Exhibit R). Certiorari was denied on February 22, 2022.

   PART II: COLLATERAL PROCEEDINGS

   1. Post-conviction relief related to the claim presented in this habeas petition was not
      sought by Webber in State Court.



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       3. Petitioner has previously filed a petition for habeas corpus in federal court.

              A. Case title and case number: Webber v. Fernandez, et al., 1:21-cv-00656

                  1. The habeas petition was dismissed without prejudice, with the Court
                     noting that the dismissal “does not count as a ‘first’ petition for purposes
                     of the prohibition on unauthorized and successive habeas corpus petitions.

       4. There are no other collateral proceedings pending.

       PART III – PETITIONER’S CLAIMS

       In her pro se habeas petition, Webber raised, in summary, the following claims (Case No.

1:21-cv-5444, Dkt. #1):


       (A) Petitioner is “not mentally ill and dangerous.” The clear and convincing standard is
           too high; dangerousness requires a reasonable expectation; and “in remission” means
           not mentally ill by law. One must be “both mentally ill and dangerous” under Foucha
           v. Louisiana and United States v. Jones. Ongoing confinement is punishment
           precluded by the Supreme Court for a not guilty by reason of insanity acquittee.

       (B) Exculpatory and material facts were concealed and treatment records were falsified
          in violation of Brady v. Maryland, as favorable evidence has been withheld thwarting
          efforts to correct material facts that should be offered.

       In this counseled and amended petition, Webber raises the following claims for relief:

       1. The Second District Appellate Court’s June 9, 2021, order reversing the DuPage
          County Trial Court’s December 11, 2019, order that granted Webber’s petition for
          conditional release was contrary to and unreasonably applied clearly established
          federal law, namely Foucha v. Louisiana, 504 U.S. 71 (1991), in that the Appellate
          Court ordered Webber confined without finding that she was dangerous, but instead
          relying on contested testimony that Webber had a “potential” risk of dangerousness
          and that Webber did not herself show that she is not “reasonably expected” to be a
          danger to herself at some point in the future, when federal law requires a showing of
          dangerousness caused by mental illness before confining an acquittee.

       2. The Second District Appellate Court’s June 9, 2021, order reversing the DuPage
          County Trial Court’s December 11, 2019, was premised on an unreasonable
          determination of the facts because the evidence did not show that Webber was
          dangerous as required by federal law.

       Should it be necessary and not cause delay, Webber would seek an evidentiary hearing.




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   PART IV – REPRESENTATION

   (A) At preliminary hearing:

           None

   (B) At arraignment and plea:

           Jeffrey York
           DuPage County Public Defender’s Office
           503 N. County Farm Road
           Wheaton, IL 60187

   (C) At trial:

           Jeffrey York
           DuPage County Public Defender’s Office
           503 N. County Farm Road
           Wheaton, IL 60187

   (D) At sentencing:

           N/A

   (E) On appeal:

       Direct Appeal and Petition for Leave to Appeal:

           Stacey A. Aschemann
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           300 E. Main Street, Ste. 18
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            Petition for Certiorari

              Terrence M. Johnson
              North Pier Chicago
              505 East Illinois Street
              Lower Level Unit 1
              Chicago, Illinois 60611

              Thomas C. Cronin
              Cronin & Co., Ltd.
              120 North LaSalle Street, 20th Floor
              Chicago, Illinois 60602

       (F) In any post-conviction proceeding:

              N/A


       (G) Other (state):

              N/A

       PART V – FUTURE SENTENCE

       Webber does not have any future sentence to serve.

III.   BACKGROUND OF TRIAL AND POST-TRIAL PROCEEDINGS

           A. Webber is Acquitted by Reason of Insanity
              for the Murder of Her Young Daughter.

       On November 10, 2010, Webber was indicted with First Degree murder for the killing of

her four-year-old daughter, Maggie, on November 3, 2010.          (Ex. I1, C. 137-142).       As

established at the June 7, 2012, bench trial before Judge George J. Bakalis, Webber was in a

psychotic state and believed that she needed to protect her daughter from a satanic cult that

intended to kidnap her daughter and subject her to sexual slavery. (Ex. K1, R. 211). The State’s

trial evidence consisted of a lengthy stipulation read into the record. (Ex. K1, R. 191-217). The

defense elicited the testimony of Dr. Orest Wasyliw, a psychiatrist whom the DuPage County

State’s Attorney initially sought to evaluate Webber and her state of mind during the commission



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of the NGRI offense. (Ex. I1, C. 189-191, Ex. K1, R. 220-272). Dr. Wasyliw diagnosed Webber

with major depressive disorder with psychotic symptoms. (Ex. K1, R. 254). He also testified that

Webber loved her daughters, and there was “no chance whatsoever” that she would have killed

her youngest daughter had she not entered into a psychotic state. (Ex. K1, R. 267-268).

       In addition to Dr. Wasyliw’s testimony, the evidence and record before the Trial Court,

also provided extensive detail and background regarding Webber’s mental health issues, history

of prescribed psychotropic medications, and changes in her behavior, which were often related to

changes in her medication, including increased paranoia about her surroundings and fear that

others would harm or even kill her and her daughters. (Ex. K1, R. 229-30, R. 240; Ex. O2, Sec.

C. 329, 489; Sec. C. 472). Indeed, police who were called to the scene of the NGRI offense

found a backpack that contained ten different psychotropic medications. (Ex. O2, Sec. C. 327).

When Webber stopped taking the medications, she began to feel anxious, paranoid, and afraid of

people. (Ex. O3, Sec. C. 487). The evidence also indicated that about a week before the NGRI

offense, Webber stopped taking some or all of these medications, and then suffered physical

illness, cramps, hot flashes, and “substantially more” depression as well as more suspicion and

paranoia. (Ex. K1, R. 243). She also described having great fear for her own safety and that for

her daughters. (Ex. K1, R. 243-44).

       On November 3, 2010, the day of the NGRI offense, the record indicated that Webber

recalled hiding in a bathroom fearing that a demon was after her and her daughter. (Ex. O3, Sec.

C. 487-88). In addition to killing her daughter in the bathroom, Webber cut her own neck and

wrist and wrote messages on the bathroom wall in blood to warn other people. (Ex. O3, Sec. C.

472, 474; 488,). The following day, Webber indicated that she did not know if what she did was

wrong because she had saved her daughter. (Ex. K1, R. 215).




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       After considering this and other evidence, on July 7, 2012, the Trial Court found Webber

not guilty by reason of insanity for the killing of her daughter. (Ex. I1, C. 310, Ex. K1, R. 346).

Following this acquittal, on July 13, 2012, the Illinois Department of Human Services (IDHS)

found, pursuant to 730 ILCS 5/5-2-4, that Webber was in need of inpatient mental health

services. (Ex. O1, Sec. C 8-13). Judge Bakalis concurred and ordered that Webber be treated by

IDHS for continued inpatient treatment. (Ex. K1, R. 353).

           B. Conditional Release and Discharge Proceedings Before the Trial Court

       Under Illinois law, insanity acquittees can seek conditional release and discharge.

Pursuant to 730 ILCS 5/5-2-4, the director of the facility in which the insanity acquittee is

housed must submit treatment plan reports every 90 days. Pursuant to statute, those 90-day

reports must include opinion “as to whether the defendant is currently in need of mental health

services on an inpatient basis or in need of mental health services on an outpatient basis,” must

also summarize the basis for that recommendation, and must summarize various items from the

acquittee’s treatment plan, including “(1) an assessment of the defendant's treatment needs, (2) a

description of the services recommended for treatment, (3) the goals of each type of element of

service, (4) an anticipated timetable for the accomplishment of the goals, and (5) a designation of

the qualified professional responsible for the implementation of the plan.” 730 ILCS 5/5-2-4(b).

These reports are utilized by the courts to determine if a patient is progressing towards release or

requires more inpatient treatment.

               1. The First Conditional Release Proceeding.

       On August 21, 2014, Webber petitioned the Trial Court for conditional release or

discharge. (Ex. I1, C. 352-354).       On November 12, 2014, the Trial Court appointed a

psychiatrist, Dr. Seltzberg, to evaluate Webber and determine if she was still in need of inpatient




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treatment. (Ex. I1, C. 391). Dr. Seltzberg submitted a report to the Trial Court on January 20,

2015. In her report, Dr. Seltzberg opined that Webber was no longer psychotic even without

taking medication, but believed that she met most of the diagnostic criteria for Schizophrenia.

(Ex. O3, Sec. C. 365- 366). Dr. Seltzberg did not testify and consequently her report and the

findings were not subject to cross-examination by the defense.

       The hearing on Webber’s petition for conditional release or discharge did not take place

until September 26, 2017. (Ex. K1, R. 661). During that hearing, Webber presented testimony

from Dr. Toby Watson, a clinical psychologist, Lucy Menezes, a social worker at Chicago-Read

Mental Health Center, Dr. Craig Jock, a clinical psychologist at Chicago-Read, and Mir Obaid, a

psychiatrist at Chicago-Read. (Ex. K1, R. 797-798, 842, 882).

       Dr. Watson testified that Webber did not meet “any criteria for any mental illness,”

specifically the diagnosis given by Chicago-Read that was major depressive disorder, severe

with psychotic features in full remission. (Ex. K1, R. 713). He added that he did see that

Webber “has sadness, she is frustrated, she gets emotionally upset, she will verbally raise her

voice, she does not make any threat, but those are behaviors and feelings, she feels victimized,

she feels at times entitled. So there's a fair number of things that we could, again, symptoms are

all thoughts, feelings, and behaviors. She is human like anyone else, she has got a lot of those

things. But nothing that falls to a level or in any category of a mental illness.” (Ex. K1, R. 713-

14). Dr. Watson also testified about testing that he performed in 2015, which indicated that

Webber was a “low risk” for committing an “act of violence” and that there was nothing he had

heard which indicated the testing needed to be redone. (Ex. K1, R. 714). He further testified

that Webber was not suicidal homicidal, or a danger to anyone. (Ex. K1, R. 715-716).




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       Dr. Craig Jock, Webber’s treating psychologist at Chicago-Read Mental Health Center

testified to Webber’s lack of dangerousness and mental illness. (Ex, K1, R. 842-879). Dr. Jock

saw Webber two times per week for individual psychotherapy sessions for nearly a year. (Ex.

K1, R. 843-44). Dr. Jock testified that Webber did not meet the criteria for mental illness, and

that she did not exhibit the symptoms of major depressive disorder, bipolar disorder, psychotic

disorder, or schizophrenia. (Ex. K1, R. 844). Specifically, he noted that he was aware that

Chicago-Read had Webber’s diagnosis as “major depressive disorder, severe with psychotic

features in remission,” but added that he did not believe that Webber currently met the criteria

for any mental illness. (Ex. K1, R. 844).     He noted that Webber was not symptomatic to a

“diagnosable level” with depressive disorder or bipolar disorder, which were both mood

disorders. (Ex. K1, R. 845).     Dr. Jock also testified that Webber would often verbalize her

frustrations with the staff members of Chicago-Read Mental Health Center but had not expressed

suicidal behavior and that she was not dangerous in any way. (Ex. K1, R. 846).

       Dr. Mir Obaid, a psychiatrist at Chicago Read Mental Health Center who had worked

there for twenty-eight years, and had a significant amount of contact with Webber, also testified.

(Ex, K1, R. 882-892). Dr. Obaid testified that Webber had been a lengthy participant in the

group therapy session he ran, titled “Understanding Mental Illness,” in which he and Webber

discussed her refusal to medicate. Dr. Obaid testified that he would not have recommended that

she take any medication, even if she were willing to do so. (Ex, K1, R. 886). He also testified

that Webber did not have any active symptoms of mental illness, was not a danger to herself or

others, and even admitted that it could be hard to “shake” diagnoses, even if they were incorrect.

(Ex. K1, R. 888-889). Thus, Webber’s witnesses each opined that she did not meet the standard

for inpatient treatment (Ex. K1, R. 676, 715-716, 797-798, 807, 842, 849, 882, 889-890).




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           The State presented evidence from, Dr. James Corcoran, a psychiatrist and the medical

director of Chicago-Read Mental Health Center. (Ex. K1, R. 969-970). Dr. Corcoran recognized

that Webber was not suicidal, homicidal, or reasonably expected to cause bodily harm to herself

or another. (Ex. K1, R. 1019-1020).

       On November 13, 2017, the Trial Court issued its order denying Webber’s petition for

conditional release or discharge. (Ex. I2, C. 524, Ex. K1, R. 1118). However, the Trial Court

also established a transition program that could lead to Webber’s eventual conditional release.

(C. 524). The transition program would allow the Trial Court to assess Webber’s conduct and

behavior outside of a secure facility. (Ex. I2, C. 524). The Trial Court also ordered IDHS to

transfer Webber to a chronic care unit, increase her privileges, and also research “what resources

will be made available for [Webber] when conditional release is granted.” (Ex. I2, C. 524-525).

The Trial Court further ordered Webber to participate in group and individual therapy, and

indicated that it would reconsider the request for conditional release in six months’ time. (Ex. I2,

C. 525).

       Three days after the Trial Court’s denial of her petition, Webber attempted suicide by

taking 30 pills of Fioricet, a medication that she took to treat her severe headaches. (Ex. 02, Sec.

C. 224). After consuming the Fioricet, Webber approached the staff at Chicago-Read to inform

them about what she had done. (Ex. L4, R. 1847). IDHS transferred Webber from Chicago-

Read to Elgin Mental Health Center following this suicide attempt. (Ex. O2, Sec. C. 195).

       Webber appealed the Trial Court’s denial of her petition. (Ex, I2, C. 529). On August 1,

2019, the Second District Court of Appeals affirmed the Trial Court’s decision. (Ex. I2, C. 792-

804); People v. Webber, 2019 IL App (2d) 170998-U.




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               2. The Second Conditional Release Proceeding and Hearing.

       On June 26, 2018, Webber filed a second petition for conditional release or discharge

with the Trial Court.    (Ex. I2, C. 585). Then on July 10, 2018, Webber filed an amended

petition for discharge. (Ex. I2, C. 592). She then filed a second amended Petition for discharge

on July 18, 2018, in which she specifically argued that she must be held in the least restrictive

environment pursuant to 405 ILCS 5/2-102. (Ex. I2, C. 597). On October 1, 2018, the Trial

Court appointed Dr. Lesley Kane to evaluate Webber. (Ex. I2, C. 619).

       The hearing on Webber’s second petition for conditional began on May 8, 2019. (Ex, L3,

R. 1753). Through the course of the hearing, Webber presented testimony from Dr. Cindy

Perlin, Dr. Watson, Dr. Gail Tash, and Dr. Dathan Paterno. (Ex. L3, R. 1718, 1754, Ex. L5, R.

1879, Ex. L6, R. 1949). Webber also testified herself, and additionally called Terry Nichols, a

former IDHS employee. (Ex. N5, R. 2877). The State called Dr. Richard Malis and Dr. Kane.

(Ex. N1, R. 2511, Ex. N3, R. 2717).

       Dr. Perlin, a psychologist who acknowledged that she helped raise funds for Webber to

pay for experts, testified that Webber did not have a history of mental illness as a child or a

familial history of mental illness. (Ex. L3, R. 1729-31, 1766-68). Dr. Perlin was not admitted as

an expert, but testified that Webber’s character was not one of violence. Dr. Perlin testified that

she was not a danger to herself and others. (Ex. L3, R. 1724). In his testimony, Dr. Watson

reiterated his opinions that Webber did not suffer from a mental illness. Rather, he diagnosed

Webber with PTSD, personality disorder not otherwise specified, and alcohol dependence by

history in 2015. The Trial Court asked Dr. Watson whether he believed that Webber “has any

type of psychiatric disorder of any kind, not necessarily insanity?”     (Ex. L5. R. 1859).    Dr.

Watson responded, “Post-traumatic stress disorder she meets criteria for. She has alcohol




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dependence by history. If I stretched even, you can maybe say that she has personality disorder

not otherwise specified, some sort of traits where she has that personality conflict.” (Ex, L5, R.

1859). Dr. Watson also reiterated that Webber was not a danger to herself or others, which he

also asserted in his 2017 testimony. (Ex, L3, R. 1762-1764). Dr. Watson opined that Webber

did not meet the threshold for mental illness. (Ex. L4, R. 1819). He also explained that when a

mental illness is in “remission” that means “you don’t have it.” (Ex. L4, R. 1804).

       Regarding her November 2017 suicide attempt, Dr. Watson acknowledged it was serious,

but also asserted that it was situational and not the product of mental illness. (Ex. L4, R. 1802,

1847). On this point, Dr. Watson testified as follows:

              I believe that her suicide attempt was situational. This was not evidence of
       some prolonged, quote-unquote, mental illness. This was directly related, and as
       her own account said, this is why she did it. And when it failed, she
       acknowledged that and even went to staff. I mean, she could have hid it. She
       could have just – it’s not like they discovered her.

               This was something that she went and told staff, hey, I did this, just letting
       you know. She has seen herself as being victimized. She is going to them and
       saying, look, I am dying here. I literally would rather be dead. Stop doing this to
       me. Stop telling me I'm ill. Stop telling me I have to take meds. Stop telling me
       that I am a baby killer.


(Ex. L4, R. 1847, Ex. L5, R. 1848). Dr. Watson also acknowledged that even in an outpatient

mental health care facility, she would also need to have daily check-ins to manage stress related

to finding an apartment or job. (Ex. L5, R. 1857).

       Dr. Tasch, a board-certified psychiatrist, testified that Webber did not have a serious

mental illness and had not been psychotic since the NGRI offense in November 2010. (Ex, L5,

R. 1879-80, 1885, 1893). Dr. Tasch also testified that Webber did not pose a danger to herself or

others, even though she had been attacked by her peers in the facility. (Ex. L6, R. 1931, 1935).

Dr. Paterno, a psychologist, agreed with Dr. Watson that Webber’s 2017 suicide attempt was



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situational. He further opined that that Webber would have a lower risk of suicide if she were

not housed inpatient in an IDHS facility. (Ex. L6, R. 1949-1950, Ex. M3, 2221). He also did

not believe that Webber suffered from a serious mental illness. (Ex. L6, R. 1952,). Dr. Paterno

acknowledged that Webber would need psychotherapy. (Ex. L7, R.1993).

       Webber testified about the difficult and abusive conditions inside Elgin Mental Health

Center. (Ex. L7, R. 1997-2001, Ex. M5 & M6, R. 2374-2431). She described how other patients

physically attacked her thirty-two times, her headaches, and about the lack of access to the gym

and outside air. (Ex. L7, R. 2000, Ex. M5, R. 2386-88, Ex. M6, R. 2407). She testified about

how staff and patients called her “baby killer” and caused her distress. (Ex. M5, R. 2383).

Webber described her two suicide attempts. The first attempt was on November 3, 2010, the

date of the NGRI offense when she was psychotic and “trying to send [herself] and [her]

daughter to heaven.” (Ex. M5, R. 2392-93). The second attempt “was at Chicago-Read on

November 15, 2017, two days after [she] was denied discharge.” (Ex, M5, R. 2393). She also

explained that the restrictions at Chicago-Read were becoming harsher, and on the day of the

attempted suicide she had begged staff to let her off-unit. (Ex, M5, R. 2394). When asked if

there was a connection between the denial of the discharge petition and suicide attempt, Webber

responded, “Yes. Of course. I felt hopeless. I know darn well that you may say two months of

this past no incidents, three months of this past no incidents, that all it takes is one staff that

doesn’t like me to create an incident. This is proof of how many incidents are manipulated,

orchestrated, what have you, or taken out of context that will keep me, and I am afraid that

someone could do this to me again and I get sent back again because of the nature of my case.”

(Ex. M5, R. 2394). She bluntly stated that, unlike the first suicide attempt, she was not “out of

her mind” during the second attempt, which she agreed was a rational decision based on the




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“hopelessness” of her surrounding circumstances. (Ex. M5, R. 2395). Webber also described

her concerns about taking medication, and noted that if she was ordered to take medication, she

would not do so because she would “rather stay locked up than become dangerous to someone

again.” (Ex. M6, R. 2421).

       Dr. Jock, who testified at the first conditional release hearing, was called again by

Webber. (Ex. M6, R. 2432-2464). Dr. Jock explained that he was Webber’s treating physician

from October 2016 until November 2017. (Ex. M6, R. 2433).         Dr. Jock saw Webber twice a

week as her treating psychologist.   Dr. Jock testified that he understood Webber’s November

2017 suicide attempt to be related to her disappointment at being denied conditional release.

(Ex. M6, R. 2439).   Dr. Jock believed Webber when she told him in November 2017 that she

was not depressed. (Ex. M6, R. 2440-41). He also believed that the November 2017 suicide

attempt was “situational.” (Ex. M6, R. 2443).

       As noted above, the State called two witnesses, Dr. Malis and Dr. Kane.       (Ex. N1, R.

2511, Ex. N3, R. 2717). Dr. Malis was Webber’s treating psychiatrist at Elgin Mental Health

Center. However, he had not provided Webber with treatment because he had not established a

therapeutic relationship with her that would enable him to treat her. (Ex. N1, R. 2513, 2520, Ex.

N2, R. 2595-2596). Despite conceding that he had no rapport with Webber, Dr. Malis told the

Trial Court that no another psychiatrist could be assigned to her. (Ex. N2, R. 2643, 2647). In

fact, at the time of the hearing, approximately one year had passed since Dr. Malis had met with

Webber and when the meetings did occur, they were not substantive in nature. (Ex. N1, R. 2547-

2548). Dr. Malis’ diagnosis of Webber was schizoaffective disorder bipolar type, alcohol use

disorder, and borderline personality traits, and that she required mental health services on an

inpatient basis. (Ex. N1, R. 2528). Dr. Malis also opined that Webber was likely to harm herself




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or others. (Ex. N1, R. 2527, 2571). He also acknowledged that Webber did not attack any peers

in the facility who attacked her. (Ex. N3, R. 2691). Dr. Malis asserted that it would be his

recommendation that Webber take psychotropic medication, which she had refused to do, in

order to reduce symptoms of delusional beliefs and the mood disorder symptoms. (Ex. N1,

R.2539).

       Dr. Kane was the Chief Psychologist for DuPage County Probation and Court Services,

and was appointed by the Court to provide an independent evaluation of Webber. (Ex. N3, R.

2717-18, 2728).    She met with Webber on two occasions for a total of five hours and also

reviewed IDHS treatment records and reports, and records prepared after the NGRI offense,

including from Elgin Mental Health Center and Chicago-Read, to arrive at her diagnosis and

recommendations for Webber’s mental health treatment. (Ex. N3, R. 2718, 2730, Ex. N4, R.

2798-2799). Dr. Kane opined that Webber had borderline personality disorder with narcissistic

traits. (Ex. M5, R. 2378-2379, Ex. N4, R. 2753). She explained that those with borderline

personality disorder see things in black and white terms. (Ex. N4, R. 2756). Dr. Kane described

borderline personality disorder in the following way “a pervasive pattern of mood instability,

unstable relationships, and impulsivity. The criteria would –I’ll just name a couple of criteria.

One would be impulsivity. Another would be a history of unstable, sort of more volatile,

turbulent relationships; an unstable sense of self; paranoid ideation is part of this disorder as

well, particularly under periods of stress, so it tends to be more transient, although it can reach

the level of psychosis at different times; feelings of emptiness; a fear of abandonment. One of the

main criteria is also effective instability, so extreme moodiness or dysphoria, agitation. Also, an

inability or difficulty – I would say marked inability to control anger and another would be

inappropriate anger or agitation.” (Ex. N4, R. 2753-54).




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       Dr. Kane also diagnosed Defendant with major depressive disorder with psychosis in

remission, and rule out bipolar disorder with psychosis in remission (Ex. N3, R. 2741, 2743).

Regarding the rule out bipolar disorder diagnosis, Dr. Kane explained that she qualified her

diagnosis as rule out because she is not confident that Webber met that diagnosis but did

demonstrate some symptoms. (Ex. N3, R.2742).            She added that Webber did not exhibit

“significant symptoms of mental illness,” such as psychotic behavior, hearing voices, or

“distractibility to the point where she looked as though she was seeing things in the room that

weren’t there. (Ex. N3, R. 2734-35, Ex. N4, R. 2753). Dr. Kane did not agree that Webber’s

treatment caused her symptomology. (Ex. N4, R.2759).

       Regarding the risk of danger, Dr. Kane testified that she saw no indication that Webber

would be dangerous to others. (Ex. N4, R. 2875). When asked by the State, who called her as a

witness, about having a depressive disorder in remission while being unable to identify triggers

and stressors, Dr. Kane opined that such an individual with “this diagnosis” “could put

themselves in a situation that could escalate or trigger her symptoms; and not being aware of

when it’s escalating or not having the self-awareness or insight, their symptoms could go on

untreated and they might not seek help prior to it escalating to the point where they might

actually do something to harm themselves.” (Ex. N3, R. 2746-47). This limited “insight into

this mental illness to identify her triggers or stressors” led to a “risk” of Webber being “in a more

vulnerable state than the general public as far as another suicide attempt.” (Ex. N3, R. 2747).

       Dr. Kane relayed what Webber told her about the November 2017 suicide attempt at

Chicago-Read as follows: “I think she had told me that she had thought – a number of people

had given her positive feedback and had indicated that she would probably be released into the

community. And then she discovered that that was not going to happen, and she has feeling upset




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about that, and she also had added that she couldn’t provide for her children and that was

something that she was concerned about. And by committing suicide, they – the children could

sue for wrongful death and then they would be provided for financially.” (Ex. N4, R. 2767-68).

Yet, Dr. Kane also testified that “I wouldn’t say she’s in imminent danger to hurt someone or

hurt herself. I think the potential could be there, particularly for the suicide ideation. I’d be

concerned about that.” (Ex. N4, R. 2782). When asked again by the State if she had formed an

opinion if Webber was “expected to inflict serious harm upon herself or others,” Dr. Kane

responded, “I wouldn’t say she’s at imminent risk. In other words, today right now, here and

now, I think the potential is there if she isn’t able to, I guess, acquire better coping skills and

recognize that she does have some mental health issues that need to be addressed.” (Ex. N4, R.

2791). And when asked by the State if Webber “has sufficient skills to cope without having

therapy in order to not be a danger to herself and others?” Dr. Kane replies: “I would be

concerned if she didn’t have some type of therapy or treatment in place.” (Ex. N4, R. 2791-92).

On cross-examination, Dr. Kane repeated the essence of this opinion that she did not believe

Webber to be “at imminent risk in this moment in time in the very near future.” (Ex. N5, R.

2861-62). She reiterated that there was a “potential to harm herself” if a therapist was not around

and she was in a high-stress environment and she did not have the coping mechanisms. (Ex. N5,

R. 2864-65).

       Thus, Dr. Kane explained that the “potential” could exist if Webber was not in some form

of treatment and having her mental health monitored. (Ex. N3, R. 2746, Ex. N4, R. 2782, 2791,

Ex. N5, R. 2861-2862). In response to the Trial Court’s query as to whether Webber would have

the “skills necessary to seek out the help she would need in an outpatient basis,” Dr. Kane

responded, “I think that if [Webber] really trusted a therapist, she would probably seek them




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out.” (Ex. N5, R. 2870). Dr. Kane agreed that Webber would not seek treatment or assistance

from Dr. Malis. (Ex. N6, R. 2967).

       Dr. Kane still concluded that Webber required ongoing inpatient treatment “Because she

hasn’t progressed enough in treatment. She’s not aware of the mental health symptoms that she

does have, and because she’s not aware of that or doesn’t have insight into it, she hasn’t been

able to address them properly and set up a relapse prevention plan to transition into the

community.” (Ex. N4, R 2792).

       In her rebuttal case, Webber called Terry Nichols, a retired nurse from Elgin Mental

Health Center. (Ex. N5, R. 2877-2878). Nichols described how he had made notes of positive

interactions in Webber’s chart, but was then told by his immediate supervisor that Dr. Malis was

not pleased with that. (Ex. N5, R. 2880). Nichols explained how his supervisor told him that Dr.

Malis wanted to build a case for court-ordered medication against Webber’s will not to be

medicated. (Ex. N5, R. 2881).

               3. The Trial Court’s Order Granting Webber’s Petition.

       On September 18, 2019, the Trial Court issued a Memorandum Order, in which it found

that Webber did not meet the standard for inpatient care and ongoing confinement. (Ex. I2, C.

779-788). The Trial Court specified that if Webber met several conditions, then it would

consider granting her request for conditional release within sixty days. (Id.).

       In its detailed order, the Trial Court specifically cited Nichols’ testimony as well as that

of several witnesses called at the 2017 conditional release hearing who testified regarding the

preparation of the treatment plan reports. The Trial Court noted that this testimony “causes the

court pause to consider whether or not the ninety-day reports which have been submitted to the

court, are completely accurate regarding [Webber].” (Ex. I2, C. 784). In a similar vein, the Trial




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Court stated concerns about the testimony of Dr. Malis because “he will never acknowledge

petitioner is proper for release until she consents to the taking of psychotropic medications even

though her psychosis has been in remission for over eight years without medication.” (Ex. I2, C.

784). The Trial Court further discussed the statutory factors set forth in 730 ILCS 5/5-2-4(g).

Those are factors that courts “may” consider when determining whether conditional release is

appropriate.

       The Trial Court disagreed with Webber’s experts’ opinions concerning her lack of a

mental illness. Instead, the Trial Court agreed with Dr. Kane’s conclusion that Webber suffered

from borderline personality disorder. It concluded that Webber’s symptomology was “largely

consistent with borderline personality disorder.” (Ex. I2, C. 781, Ex. N4, R. 2754-2756, Ex. N5,

R. 2915). It also found that Webber’s “prior psychotic episodes are now in remission” and had

been so “for an extended period of time without medication.” (Ex. I2, C. 785). The Trial Court

also agreed with Dr. Kane’s conclusion that Webber needed “to have good mental health

treatment and therapy.” (Ex. I2, C. 784). However, that mental health care was not realistic at

IDHS, as the Trial Court reasoned: “for reasons previously discussed, both the fault of [Marci]

and the fault of IDHS, will never receive that treatment while in the custody of IDHS.” (Ex. I2,

C. 784). The Trial Court also ordered IDHS to transfer Webber from Elgin to Chicago-Read,

where Webber was to engage in mental health counseling, cooperate with staff at Chicago-Read,

and follow IDHS regulations. (Ex. I2, C. 787-788).

       As to the issue of dangerousness, the Trial Court found no evidence that Webber posed a

danger to others. And as to being a danger to herself, the Trial Court expressed concerns about

Webber’s November 2017 suicide attempt but concluded that the incident was “solely based on

the denial of discharge or conditional release at that time.” (Ex. I2, C. 785). The Trial Court’s




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findings on the issue of dangerousness are reflected in its consideration of the eleventh statutory

factor of 730 ILCS 5/5-2-4(g)(11), when it stated as follows:

       Based on the findings of Dr. Kane, the court believes that the petitioner is not a
       danger to others. There was testimony that she may be a danger to herself based
       on the suicide episode in November of 2017 after this court’s denial of her request
       for discharge or conditional release. The court believes this was solely based on
       the denial of discharge or conditional release at that time. As previously indicated,
       petitioner continues to show irritability and aggressiveness, but no physically
       violent behavior has been shown toward staff or other patients. In fact, the
       petitioner has been the subject of abuse by other patients without retaliating. It is
       not possible to determine the dangerousness to herself unless a transition program
       is established to see how the petitioner conducts herself in unsecured environment
       situations.

(Ex. A, pp. 7-8).

       During the September 18, 2019, hearing, the following exchange occurred between the

Trial Court and Webber, during which she emphasized the hellish environment at Elgin:

       THE COURT: I have to be sure that I am giving you the opportunity to be outside
       of that facility, but I have to be sure that you are able to deal with the outside
       world, so-to-speak, and that you don’t have any problems and that you are
       involved in counseling. If you can show me that over some period of time, I can
       consider a modification.

       THE DEFENDANT: I completely understand that and respect that. Please take in
       mind for 43 years; law school, the Army, Office of Mental Retardation
       Developmental Disabilities, Office of Mental Health Disabilities Advocates. I
       have been out there in the world. I have never been through a more stressful
       environment than Elgin Mental Health Center. I am standing here before you
       today lucid, together, yet I have gone through hell at Elgin Mental Health Center.

       THE COURT: You have to understand, you are an intelligent woman. You have
       to acknowledge that you do have some mental health issues. There is nothing
       wrong with that. There’s all kinds of people out there who have mental health
       issues and they deal with it. They deal with it through counseling It's more
       personality issues I think than anything else that you have to show me that you
       can at least make the effort to deal with that to understand what the things are to
       become a viable member of society without having these problems.

       THE DEFENDANT: I can do that, your Honor, in a normal environment.




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       THE COURT: I think you can, otherwise I wouldn’t be saying this. But again, I
       have to have a period of time where you can show me that you can do that.

       THE DEFENDANT: Okay. If Chicago-Read gives me the opportunity, I am
       going to take it. They need to treat me the way they treat other people there and
       give me the opportunity.

       THE COURT: There is no reason why they shouldn't treat you like anybody else.

       THE DEFENDANT: It wasn’t as bad as Elgin, so I am very grateful you are
       transferring me from Elgin. That place is hell.

(Ex. N5, R. 2914-2916).

       After issuing its September 18, 2019, Order, the Trial Court held hearings in October and

November 2019 to monitor Webber’s progress and IDHS’s compliance. Webber advised the

Trial Court of her efforts to comply with the Order and to secure her potential release. (Ex. N6,

R. 2925-2941, 2943-2953). The Trial Court advised that if no provider facility would agree to

accept Webber as a resident (likely due to her not consenting to medication), then Webber could

provide a lease, bank account with funds, and proof of independent housing. (Ex. N6, R. 2945-

47). The Trial Court then set a hearing for December 11, 2019, for further discussion on the

conditional release conditions. Before that hearing, Webber submitted a detailed memorandum

with her plans for conditional release. (Ex. Q, A-49-68). IDHS also submitted an additional

progress report, which indicated that outpatient facilities would not accept Webber because she

did not consent to medication. (Ex. P, Sec. C. 5-7). The IDHS progress report showed that

Webber had participated in group and individual therapy, including substance abuse treatment.

(Ex. P, Sup. Sec. C. 11-14). Webber submitted proof that she was able to secure outpatient

mental health treatment and housing on her own and with the assistance of supporters. (Ex. I2,

C. 851). After reviewing this material, the Trial Court ordered Webber’s conditional release on




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December 11, 2019. (Ex. I2, C. 907).2 Consistent with that order, Webber was released from

custody. (Exhibit B)

        The State appealed the Trial Court’s order. It also filed an emergency motion to stay the

Trial Court’s decision. (Ex. I2, C. 907-908).             The Appellate Court granted the emergency

motion. As a consequence, Webber was ordered back to IDHS custody on December 20, 2019.

She complied with that order, turned herself in without incident, and has been in IDHS custody

since that date.

                   4. Appellate Arguments and the Second District Court of Appeals’ Reversal

        As set forth in its brief, the State phrased the issue on appeal as: “Whether the trial court

erred in finding that defendant, acquitted of the first degree murder of her daughter after a

finding of not guilty by reason of insanity, should be released from inpatient treatment after

failing to show that she is not a danger to herself or others.” (State Appellate Brief, p. 1). Its

argument as to dangerousness focused on the eleventh factor of 730 ILCS 5/5-2-4(g) and relied

on Dr. Kane’s testimony. As the State wrote, Dr. Kane:

        testified that if Defendant is not in treatment or being monitored, there is the
        potential that she could harm herself. (R.2746). Dr. Kane believed that that
        potential is greater on conditional release than at an inpatient facility because
        there is less monitoring on conditional release. (R.2746). There is a risk that she
        could put herself in a situation that could escalate or trigger her symptoms; and
        not being aware of when it’s escalating or not having the self-awareness or
        insight, her symptoms could go on untreated and she might not seek help prior to
        it escalating to the point where she might actually do something to harm herself.
        (R.2746-2747).

(Ex. D, pp. 40-41).

2
  Pursuant to Illinois law, the period of conditional release was set for five years. Webber was also
required to participate in mental health services and counseling, submit to drug and alcohol testing, have
no unsupervised contact with any person under the age of seventeen, register as a violent offender against
youth, and abstain from use of non-prescribed drugs, marijuana, and alcohol. (C. 786-88, 907). The
Trial Court specified that failure to meet the terms of conditional release could result in its revocation or
extension beyond the five-year term. See also 730 ILCS 5/5-2-4(a-1)(D).


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       Webber, now represented by attorneys from the non-profit Equip for Equality, framed the

two issues on appeal as follows:


       1. Whether the trial court’s conclusion that the defendant-appellee, Marci
          Webber, is not reasonably expected to inflict physical harm upon herself or
          another was against the manifest weight of the evidence.

       2. Whether the trial court’s conclusion that defendant-appellee, Marci Webber, is
          not benefiting from or in need of inpatient care was against the manifest
          weight of the evidence.

(Appellee Brief, p. 1). Webber’s brief expressly cited Foucha and Jones in its arguments. See

id., p. 28 (citing Foucha) (“Because the purpose of confinement is treatment, not punishment, it

is unconstitutional to continue to confine a harmless, mentally ill person.”); id, p. 34 (citing

Foucha) (“Moreover, confining someone due to personality conflicts, where the evidence does

not establish dangerousness, violates constitutional requirements. Foucha, 504 U.S. at 77.”).

       In its opinion, and relevant to the arguments set forth in this habeas petition, the

Appellate Court focused on the eleventh statutory factor set forth in 730 ILCS 5/5-2-4(g)(11),

which permits courts to consider “the defendant’s potential to be a danger to himself, herself, or

others.” The Appellate Court noted that this factor “is of particular import to this case as the

determination of whether defendant can be expected to be a danger to herself or others is also a

necessary element in the definition of someone who is in need of inpatient services.”      (Ex. C,

¶49). It ultimately concluded that Webber’s November 2017 suicide attempt—which occurred

three-and-a-half years prior to its decision—provided the grounds to reverse the Trial Court’s

decision that Webber was not a danger to herself was against the “manifest weight of the

evidence.” (Ex. C, ¶50). To arrive at that conclusion, the Appellate Court relied on Dr. Lesley

Kane’s testimony.




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       The Appellate Court faulted the Trial Court for relying on Dr. Kane’s diagnosis of

Defendant having borderline personality disorder, but then disagreeing with Dr. Kane’s opinion

that Defendant “should continue with inpatient treatment.” (Ex. C, ¶50). On this point the

Appellate Court summarized Dr. Kane to having “testified that suicide attempts were consistent

with borderline personality disorder and further stated that those who have attempted suicide,

like defendant, are more at risk of attempting suicide again and more at risk of succeeding on

another attempt.” (Ex. C, ¶50). The Appellate Court also disagreed with the Trial Court’s

finding that Webber’s November 2017 suicide attempt was “solely based on the denial of

discharge or conditional release at the time.” (Ex. C, ¶51). Relying again on Dr. Kane’s

testimony, the Appellate Court wrote that it believed that “defendant may remain a danger to

herself” because, according to Dr. Kane, “defendant said she was worried that she could not

provide for her children and believed her death could benefit her children through a wrongful

death suit against DHS.” (Ex. C, ¶51).       Thus, according to the Appellate Court, the Trial

Court’s “reliance on Kane’s diagnosis of borderline personality disorder makes its finding that

defendant is no longer a danger to herself unreasonable and seems to selectively ignore Kane’s

testimony as a whole.” (Ex. C, ¶51).

       The Appellate Court agreed with the Trial Court’s rationale that it is not possible to

determine Webber’s dangerousness unless a transition program is established in an unsecured

environment, but ultimately disagreed that Webber “should be granted conditional discharge

based on the evidence presented.” (Ex. C, ¶52). The Appellate Court repeated its belief that the

Trial Court could not accept Dr. Kane’s diagnosis of borderline personality disorder without also

accepting her “concerns regarding defendant’s November 2017 suicide attempt based on this

diagnosis” and her belief that “defendant’s potential for self-harm was greater on conditional




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release because she would be monitored much less.” (Ex. C, ¶52). The Appellate Court also

made comments regarding Webber’s alcohol abuse disorder, which was in remission but “could

be subject to relapse” when she is not in a controlled setting and “could exacerbate” her mental

health symptoms.     (Ex. C, ¶52).   It further observed that Webber would face “day-to-day

problems and annoyances” in the community if released. (Ex. C, ¶53).

       The Appellate Court concluded that Webber had not proven by “clear and convincing

evidence that she is not reasonably expected to inflict serious physical harm upon herself or

another or would not benefit from inpatient care or is not in need of inpatient care” and, as such,

the Trial Court’s finding “that defendant is not a danger to herself is not supported by the

manifest weight of the evidence.” (Ex. C, ¶54).

               5. Petition for Leave to Appeal

       Through her attorneys at Equip for Equality, on July 14, 2021, Webber moved the Illinois

Supreme Court for a supervisory order pursuant to Illinois Supreme Court Rule 383. (Ex. H).

The motion sought the vacatur of the Appellate Court’s June 9, 2021, order. The Illinois

Supreme Court denied that motion on August 4, 2021. Webber also filed a Petition for Leave to

Appeal with the Illinois Supreme Court on July 14, 2021. The brief framed the issue as follows:

       The Second District’s decision violated her constitutional rights by grossly
       deviating from standards that this Court and Illinois statute require to protect the
       liberty interests of people committed to inpatient care and by failing to comport
       with the applicable standard of review, reversing without sufficient grounds the
       trial court judge’s thoughtful decision. Petitioner respectfully requests that this
       Honorable Court accept this case for review to address the constitutional
       violations and to provide guidance to appellate courts reviewing a trial court’s
       grant of an acquittee’s conditional release to ensure compliance with
       constitutional and statutory requirements.

(Ex. G, p. 1). The brief further explained that the Appellate Court’s decision was “contrary to

rulings of this Court, as well as the Supreme Court of the United States, that establish that Not




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Guilty by Reason of Insanity (NGRI) acquittees have constitutionally protected liberty interests.”

(Ex. G, pp. 1-2) (citing Foucha v. Louisiana, 504 U.S. 71 (1992)). See id., p. 2 (“The Second

District’s disregard for the proper standard of review confines a harmless, mentally ill person in

violation of Foucha, 504 U.S. at 71 and Jones v. United States, 463 U.S. 354 (1982).”).

       In this petition to the Illinois Supreme Court Webber further argued that the Appellate

Court improperly concluded that her need for inpatient care was “not at issue,” when the Trial

Court had expressly ruled that she did not “require inpatient attention” and, moreover, that she

would never receive adequate mental health care while in DHS custody. (Ex. G, p. 10). As to

the issue of dangerousness, Webber argued that the Appellate Court sought a “guarantee” that

she would not be at risk of inflicting harm to herself. (Ex. G, p. 11). Webber specifically noted

that Dr. Kane, the sole basis for the Appellate Court’s disagreement with the Trial Court, only

testified that there was a “potential” that Webber could harm herself if not receiving treatment or

being monitored. (Ex. G, p. 11). She added, “If the law required a guarantee of future behavior,

NGRI acquittees would never be conditionally released.” (Ex. G, p. 12). Webber directly and

pointedly argued that the Appellate Court’s “failure to follow the required standard of review,

reversing the trial court’s finding that Webber is not reasonably expected to be harmful to

herself, is in violation of Foucha. As a matter of substantive due process, continued confinement

of a harmless, mentally ill person is unconstitutional. Foucha, 504 U.S. at 77.” (Ex. G, p. 14).

Webber’s petition also noted that she “has remained at Chicago-Read Mental Health Center

since December 2019 due to the Second District’s stay order and decision. (Ex. G, A. 52). Since

returning to Chicago-Read Mental Health Center, Webber’s treatment team determined that she

“is no longer in need of continued inpatient psychiatric treatment” and that she could be treated




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through a “more optimal and less restrictive environment that would help to keep both the patient

and the community safe.” (Ex. Q, A-61). (Ex. G, p. 9).

                6. Petition for Certiorari to the United States Supreme Court

        On December 30, 2021, Webber, through pro bono counsel, petitioned the United States

Supreme Court for a writ of certiorari. A copy of that petition is attached hereto as Exhibit R.

The question presented in the petition was stated as follows:

                Petitioner has been detained in a state mental health center since her bench
        trial in June 2012, which adjudicated her Not Guilty by Reason of Insanity
        (NGRI) for killing her young daughter. The predicate offense was committed
        while the Petitioner was acutely psychotic. For years, Petitioner has not been
        psychotic.

                In addition, the trial judge who sentenced and later conditionally released
        her, along with her medical treatment team where she is confined, both state that
        Petitioner is not mentally ill, not a danger to herself or others, and is not in need
        of inpatient mental health care. The State’s Attorney appealed the trial court’s
        order of conditional release. The Illinois Appellate Court reversed; the Petitioner
        was returned to confinement after nine days of freedom. The Illinois Supreme
        Court denied a Petition for Leave to Appeal.

                Whether a State’s judicially-enforced, indefinite confinement of an NGRI
        acquittee, who is no longer psychotic, mentally ill, a danger to herself or others, or
        in need of inpatient mental health care, constitutes punishment and is a significant
        deprivation of liberty that violates the due process and/or equal protection clauses
        of the Fourteenth Amendment to the United States Constitution prohibited by
        Foucha v. Louisiana, 504 U.S. 71 (1992).

(Exhibit R, p. i). On February 22, 2022, the U.S. Supreme Court denied the petition.

                7. Webber’s Current Conditions of Confinement in IDHS

        Webber remains confined by IDHS at Chicago-Read to this day. Treatment Plan reports

are submitted to the Trial Court every 90 days pursuant to 730 ILCS 5/5-2-4.3 On February 19,


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  Judge George J. Bakalis, who presided over Webber’s case since its inception and for over 10 years and
issued the December 11, 2019, order granting conditional release has retired and no longer presides over
the case in the Circuit Court of the 18th Judicial Circuit. At the time of this submission, any ongoing
proceedings in the Circuit Court have been assigned to Judge Daniel Guerin.


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2021, a Treatment Plan Report was submitted in which all six members of Webber’s IDHS

treatment team opined that Webber was “no longer in need of continued inpatient psychiatric

treatment, and that her mental health needs could be more adequately addressed in a less

restrictive outpatient treatment environment.” (Ex. G, A61). Among those recommending her

release from inpatient psychiatric treatment was Dr. Anatoliy Pyslar, Webber’s attending

psychiatrist and Dr. Robert Sobut, the Medical Director. The Treatment Team stated that,

“[f]ollowing a prolonged assessment of Ms. Webber’s mental status and her continued need for

treatment, the Treatment Team is proposing that her continued inpatient commitment does not

appear to be achieving any further measurable benefit for her.” (Id., A60). The mental illness

that led to the NGRI acquittal was observed to be in full remission. (Id.). The Treatment Team

further noted that there were less restrictive environments to help keep Webber safe. (Id., at

A61). This February 19, 2021, Treatment Plan Report was presented to the Appellate Court as

part of a motion to vacate its December 20, 2019, of the Trial Court’s December 11, 2019, order

that required Webber to return to custody. The motion was denied.

       And while not part of the record before the Appellate Court, the most recent Treatment

Plan Report, dated February 9, 2022, makes several salient conclusions regarding the issue of

dangerousness, which is the focus on this habeas petition. In particular, the February 9, 2022,

report opines that “Ms. Webber is not believed to be at any increased risk for harming herself or

others at the present time.” (Ex. S, p. 2).   And notwithstanding concerns regarding Webber’s

behavior and managing day-to-day social and personal interactions at Chicago-Read, which

Webber would dispute, the Treatment Plan asserts as follows: “Be that as it may, there is no

reasonable expectation that Ms. Webber would inflict any serious physical harm upon herself or

another.” (Ex. S, p. 8). The February 9, 2022, report reflects how Webber’s treatment team




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“continues to believe that continued inpatient commitment does not appear to be achieving any

measurable benefit for her.” (Ex. S, p. 9).    Accordingly, Webber remains confined based on the

Appellate Court’s order, despite the fact that her Treatment Team has recommended release from

inpatient care for more than a year, including after finding that she was not a danger to herself.

IV.    PETITIONER’S CLAIMS FOR HABEAS RELIEF

       In her pro se habeas petition, Webber raised two grounds for habeas relief. (Dkt. #1).

Affording her pro se pleading the liberal reading it is due (see, e.g., Blake v. United States, 841

F.2d 203, 205 (7th Cir. 1988); Perruquet v. Briley, 390 F.3d 505, 512 (7th Cir. 2004)), Webber

raised two claims. She argued that the Appellate Court ordered her ongoing confinement in

IDHS even though she was acquitted of a crime and was not mentally ill and dangerous. (Dkt.

#1). As part of that claim, she identified specific points that the Appellate Court overlooked

regarding testimony about her mental illness being in remission and her lack of dangerousness.

She also faulted the Appellate Court’s use of a “reasonable expected” standard to measure

dangerousness. Her pro se petition specifically cited Foucha v. Louisiana and United States v.

Jones. In her second claim, Webber argued that the exculpatory information was withheld from

the treatment records that were presented to the state court on an ongoing basis, in violation of

Brady v. Maryland, 373 U.S. 83 (1963). (Dkt. #1). This amended petition focuses on the first

ground of relief that Webber raised in her pro se petition, namely that the Appellate Court

ordered her confines in direct contravention of the clearly establish standards set forth in

Foucha.4 As noted above, Webber raises the following two related claims for relief under 28

U.S.C. 2254:



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  As discussed below, this amended petition does not advance Webber’s second claim raised in her pro se
petition. That claim was based on alleged constitutional deprivations related to the manipulation of
records and the withholding of exculpatory material. By not advancing that claim in this amended


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       1. The Second District Appellate Court’s June 9, 2021, order reversing the DuPage
          County Trial Court’s December 11, 2019, order that granted Webber’s petition for
          conditional release was contrary to and unreasonably applied clearly established
          federal law, namely Foucha v. Louisiana, 504 U.S. 71 (1991), in that the Appellate
          Court ordered Webber confined without finding that she was dangerous, but instead
          relying on contested testimony that Webber had a “potential” risk of dangerousness
          and that Webber did not herself show that she is not “reasonably expected” to be a
          danger to herself at some point in the future, when federal law requires a showing of
          dangerousness caused by mental illness before confining an acquittee.

       2. The Second District Appellate Court’s June 9, 2021, order reversing the DuPage
          County Trial Court’s December 11, 2019, was premised on an unreasonable
          determination of the facts because the evidence did not show that Webber was
          dangerous as required by federal law.


       Petitioner’s claims are straightforward. Foucha, the clearly established federal law,

expressly holds that an individual who has been acquitted of a crime based on insanity cannot be

confined unless they are both mentally ill and dangerous.     The Trial Court soundly found that

Petitioner was not a danger to herself due to any mental illness. But the Appellate Court

reversed, finding that Webber required inpatient hospitalization “as no clear and convincing

evidence was presented to support the notion that she would not reasonably be expected to inflict

harm upon herself if granted conditional release.” (Ex. B, ¶54). That finding was contrary to

Foucha’s standard for dangerousness on two grounds.

       First, the Appellate Court allowed for continued confinement of an innocent person

without ever finding that Webber was dangerous, and instead relying on significantly lowered

standards including “potential” dangerousness in possible future scenarios.          See Revels v.

Sanders, 519 F.3d 734 (8th Cir. 2008); but see Poree v. Collins, 866 F.3d 235 (5th Cir. 2017).

Second, and using that lowered “dangerousness” standard that obviated the need to find Webber

was actually dangerous, the Appellate Court ordered her confined without finding that any

petition, Webber seeks to ensure that no ruling or judgment is entered on those arguments that could
impact in any way her ability to advance those arguments in the future.


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“dangerousness” stemmed from the mental illness that it identified, which is also contrary to the

dictates of Foucha.        In short, the Appellate Court’s purported finding that Webber was

“dangerous” was both contrary to and unreasonably applied Foucha. Third, the Appellate

Court’s purported findings of dangerousness are objectively unreasonable in light of the record,

as it relied on a single doctor who voiced some concerns about the potential for violence if

certain controls were in place. However, the Trial Court effectively addressed that doctor’s

concerns through a treatment plan that the doctor never addressed. The Appellate Court ignored

that critical fact as well as the overwhelming evidence in the record showing that Webber was

not dangerous to herself due to a mental illness (and in fact, ample evidence questioned whether

she is mentally ill at all).

        Due to the Appellate Court’s erroneous and unconstitutional findings, Petitioner has

remained involuntarily confined in the custody of IDHS even though she is not dangerousness as

required by the Supreme Court.        She is an innocent, non-dangerous individual improperly

locked in an inpatient hospital where she continues to receive inadequate care.    Habeas relief

should be granted.

            A. General Legal Habeas Standards.

        The Anti-Terrorism and Effective Death Penalty Act (“AEDPA”) governs federal review

of a petition for habeas corpus filed by a petition in state custody. See 28 U.S.C. § 2254. Under

AEDPA, a federal court “shall entertain an application for a writ of habeas corpus on behalf of a

person in custody pursuant to the judgment of a State court only on the ground that he is in

custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C. §

2254(a); see also Cullen v. Pinholster, 131 S.Ct. 1388, 1398 (2011).




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       Habeas relief is warranted when a petitioner can show that the state court adjudicated a

claim in a manner that “(1) resulted in a decision that was contrary to, or involved an

unreasonable application of, clearly established Federal law, as determined by the Supreme

Court of the United States; or (2) resulted in a decision that was based on an unreasonable

determination of the facts in light of the evidence presented in the State court proceeding.” 28

U.S.C. §2254(d)(1)-(2). Those two standards have independent meaning. Williams v. Taylor,

529 U.S. 362, 404-05 (2000).

       A decision is “contrary to” clearly established federal law if a state court applies a rule

different than the governing law, as established by Supreme Court cases, or if it decides a case

differently than the Supreme Court, on facts that are materially the same. Williams, 529 U.S. at

404-06; Premo v. Moore, 562 U.S. 115, 128 (2011) (quoting Bell v. Cone, 535 U.S. 685, 694

(2002)). A state court’s decision meets the “unreasonable application” standard if it identifies

the correct governing legal principle from Supreme Court decisions, but it unreasonably applies

it to facts in a particular case. Williams, 529 U.S. at 407-08. The Seventh Circuit has explained

that “the unreasonable application of federal law will lie ‘well outside the boundaries of

permissible differences of opinion’ and will be a clearly established Supreme Court precedent

unreasonably extended to an unsuitable context or the unreasonable refusal to extend that rule

somewhere it should have applied.” Long v. Butler, 809 F.3d 299, 312 (7th Cir. 2015) (quoting

Allen v. Chandler, 555 F.3d 596, 602 (7th Cir. 2009)); see also Yarborough v. Gentry, 540 U.S.

1, 5 (2003); Rompilla v. Beard, 545 U.S. 374, 380 (2005) (quoting Wiggins v. Smith, 539 U.S.

510, 520 (2003)).

       To determine whether a state court makes an “unreasonable determination of the facts in

light of the evidence,” a federal habeas court “must be objectively convinced that the record




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before the state court does not support the state court’s findings in question.” Ben-Yisrayl v.

Davis, 431 F.3d 1043, 1047-48 (7th Cir. 2005).            Under this provision, “an unreasonable

determination of the facts in light of the evidence can occur where the state-court finding is

unsupported by sufficient evidence.” Id. (citing Wiggins v. Smith, 539 U.S. 510, 520-21 (2003)).

Thus, federal courts may intervene when a state-court decision is “objectively unreasonable.”

Woodford v. Visciotti, 537 U.S. 19, 27 (2002). An objectively unreasonable application “is

different from an incorrect one.” Bell v. Cone, 535 U.S. 685, 694 (2002). The Supreme Court

has stated that to be unreasonable, a state court’s decision must be “so lacking in justification

that there was an error ... beyond any possibility of fairminded disagreement.” Burt v. Titlow,

571 U.S. 12, 19-20 (2013) (internal quotation omitted).

       Additionally, under 28 U.S.C. §2254(e)(1), when considering whether the state court’s

decision was based on an “unreasonable determination of the facts” under 28 U.S.C.

§2254(d)(2), the federal habeas court presumes a state court’s factual determinations to be

correct, which can be rebutted by clear and convincing evidence. Winfield v. Dorethy, 956 F.3d

442, 452 (7th Cir. 2020) (citing Janusiak v. Cooper, 937 F.3d 880, 888 (7th Cir. 2019)).

       Pursuant to 28 U.S.C. §2254(d)(1), the federal habeas court “is limited to the record that

was before the state court that adjudicated the claim on the merits.” Cullen, 563 U.S. at 181-82

(“Section 2254(d)(1) refers, in the past tense, to a state-court adjudication that ‘resulted in’ a

decision that was contrary to, or ‘involved’ an unreasonable application of, established law. This

backward-looking language requires an examination of the state-court decision at the time it was

made. It follows that the record under review is limited to the record in existence at that same

time i.e., the record before the state court.”). See also Toliver v. Pollard, 688 F.3d 853, 859 (7th

Cir. 2012).




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       Accordingly, a federal habeas court’s focus is on the last state court decision that

previously addressed a habeas petitioner’s claims. Williams, 529 U.S. at 412-13; United States

ex rel. Hampton v. Leibach, 347 F.3d 219, 245 (7th Cir. 2003) (relevant decision for § 2254(d)

assessment is decision of the last state court to rule on claims). Thus, when the “last state court

to decide a prisoner’s federal claim explains its decision on the merits in a reasoned opinion,’

this presents a ‘straightforward inquiry’ for the federal habeas court.”           Subdiaz-Osorio v.

Humphreys, 947 F.3d 434, 443 (7th Cir. 2020) (quoting Wilson v. Sellers, 138 S. Ct. 1188, 1192

(2018)).

       But to be subject to the deference and limitations set forth in 28 U.S.C. §2254(d), the

claims must have been “adjudicated on the merits” in state court. 28 U.S.C. §2254(d); Cone v.

Bell, 556 U.S. 449, 472 (2009); Braun v. Powell, 227 F.3d 908, 916 (7th Cir. 2000) (standards

provided in 28 U.S.C. §2254(d)(1) and (2), however, only apply to a claim that was adjudicated

on the merits in state court proceedings); Canaan v. McBride, 395 F.3d 376, 382 (7th Cir. 2005)

(“When a state court is silent with respect to a habeas corpus petitioner’s claim, that claim has

not been ‘adjudicated on the merits’ for purposes of § 2254(d).”). A state court does not make an

“adjudication on the merits” if it fails to resolve all determinative issues of federal law.

           The Seventh Circuit recently reiterated that “‘[w]hen no state court has squarely

addressed the merits of a habeas claim, we review the claim under the pre-AEDPA standard of

28 U.S.C. §2243, under which we dispose of the matter as law and justice require.’” Ramirez v.

Tegels, 963 F.3d 604, 612 (7th Cir. 2020) (quoting Harris v. Thompson, 698 F.3d 609, 623 (7th

Cir. 2012)). Thus, when the state court overlooks a federal claim, even inadvertently, the federal

habeas court will review the federal claim “de novo.” Ramirez, 963 F.3d at 613 (citing Adorno v.

Melvin, 876 F.3d 917, 921 (7th Cir. 2017)); Canaan, 395 F.3d at 382 (citing Hough v. Anderson,




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272 F.3d 878, 904 n.13 (7th Cir. 2001) for de novo review standard). The federal habeas court

will then determine whether an individual is in custody in violation of the Constitution by

analyzing: (1) whether substantive constitutional rules were respected; and (2) whether, if a

constitutional error was committed, it caused a substantial and injurious effect or influence in

determining the jury’s verdict.     Brecht v. Abrahamson, 507 U.S. 619, 623 (1993).              A

constitutional error will warrant relief if the error “had a ‘substantial and injurious effect or

influence in determining the jury’s verdict.’” Ben-Yisrayl, 431 F.3d at 1051-52 (quoting Brecht,

507 U.S. at 638). Thus, the Seventh Circuit has held that constitutional errors that are “‘harmless

beyond a reasonable doubt’” may not require writs of habeas corpus. Ben-Yisrayl, 431 F.3d at

1052 (quoting Chapman v. California, 386 U.S. 18, 24 (1966)).

           B. Webber Has Exhausted Her Foucha Claim.

       Before petitioning a federal court for habeas relief, a state prisoner must exhaust her

remedies in state court. See, e.g., Whatley v. Zatecky, 833 F.3d 62, 770 (7th Cir. 2016) (citing

O’Sullivan v. Boerckel, 526 U.S. 838, 842 (1999)); see also 28 U.S.C. §2254(b). A habeas

petitioner must present her federal claim “through one complete round of state court review,

whether on direct appeal or in post-conviction proceedings.” Whatley, 833 F.3d at 770–71 (citing

Richardson v. Lemke, 745 F.3d 258, 268 (7th Cir. 2014)) and Bolton v. Akpore, 730 F.3d 685,

694 (7th Cir. 2013)). Exhaustion requires that the broad claim be raised in addition to the legal

arguments and operative facts supporting it. McNary v. Lemke, 708 F.3d 905, 919 (7th Cir.

2013). The exhaustion requirement provides “the state courts an opportunity to act on his claims

before he presents those claims to a federal court in a habeas petition.” O’Sullivan, 526 U.S. at

842 (emphasis omitted). Perruquet v. Briley, 390 F.3d 505, 513 (7th Cir. 2004). (“Exhaustion




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serves an interest in federal-state comity by giving state courts the first opportunity to address

and correct potential violations of a prisoner’s federal rights.”).

       Respondent acknowledges that Webber’s Foucha claim is exhausted and thus ripe for

review. (Dkt. #11, p. 4) (“To the extent that petitioner challenges the state appellate court’s June

2021 decision reversing the trial court’s order granting her conditional release, she has exhausted

her available state remedies because her requests for further review in the Illinois Supreme Court

have been denied.”). Further to the point, Webber has consistently argued that her ongoing

confinement was unconstitutional under Foucha in her brief before the Appellate Court and in

her petition for leave to appeal to the Illinois Supreme Court. (Ex. E and G). While not

controlling for the exhaustion analysis, she continued this argument in her petition for certiorari

to the U.S. Supreme Court. (Ex. R). Webber also cited Foucha in her pro se habeas petition

when she argued that she was confined even though she was not mentally ill and dangerous.

(Dkt. #1). The claim is exhausted.

           C. Foucha is Clearly Established Federal Law.

       Webber’s habeas claims are based on a denial of her federal constitutional rights, as

defined by the U.S. Supreme Court. In Foucha, the Supreme Court held that the purpose of

confinement of an individual who has been acquitted of an offense on insanity grounds is

treatment, not punishment. It is therefore unconstitutional to confine someone who is mentally

ill but harmless. Foucha, 504 U.S. at 77. Indeed, “[f]reedom from physical restraint ‘has always

been at the core of the liberty protected by the Due Process Clause from arbitrary governmental

action.’” Kansas v. Hendricks, 521 U.S. 346, 356 (1997) (quoting Foucha, 504 U.S. at 80).

       In Foucha itself, the defendant/petitioner was no longer mentally ill. Foucha, 504 U.S. at

78; id. at 80 (“the State does not claim that Foucha is now mentally ill.”). Yet, the State sought




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and obtained his continued confinement in a mental institution based on the argument that he

was still dangerous. As such, he could not obtain his release “unless he prove[d] that he is not

dangerous” regardless of whether he was insane. Id. at 73. State law required the court to hold

a hearing to determine dangerousness, but the acquittee bore “the burden of proving that he is not

dangerous.” Id. The State sought to continue Foucha’s confinement “on the basis of his

antisocial personality which … the court found rendered him a danger to himself or others.” Id.

at 78. The Supreme Court found three problems with the State’s position.

       First, it held that keeping an individual confined “against his will in a mental institution is

improper absent a determination in civil commitment proceedings of current mental illness and

dangerousness.” Foucha, 504 U.S. at 78. That is because due process required that the reason

and nature of the commitment “bear some reasonable relation to the purpose for which the

individual is committed.” Id. at 79. The Supreme Court reasoned that because Foucha was not

mentally ill, he should not be held as a mentally ill person. Id. Second, since Foucha should not

be confined as an insanity acquittee, “he is entitled to constitutionally adequate procedures to

establish the grounds for his confinement.” Id. at 79. Third, the substantive component of the

Due Process clause “bars certain arbitrary, wrongful government actions regardless of the

fairness of the procedures used to implement them.” Id. at 80 (quotation and citation omitted).

       Turning to the facts of the case before it, the Supreme Court first observed that the State

did not contend that Foucha was mentally ill. The Supreme Court then noted that when the

State’s doctor was asked if Foucha was dangerous, this doctor “said only, ‘I don’t think I would

feel comfortable in certifying that he would not be a danger to himself or to other people.’”

Foucha, 504 U.S. at 82. The Supreme Court determined that such an opinion “is not enough to

defeat Foucha’s liberty interest under the Constitution in being freed from indefinite confinement




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in a mental facility.” Id. at 82. The Supreme Court also rejected the State’s reasoning for

holding insanity acquittees who were not mentally ill but “who could be shown to have a

personality disorder that may lead to criminal conduct.” Id. at 82 (emphasis added). Thus, under

Foucha, an insanity acquittee may only be confined if they are shown to be both mentally ill and

dangerous due to the mental illness. Id. at 80.

       Turning to the application of Foucha and, specifically, the requirement of

“dangerousness,” in Gilbert v. McCullough, 776 F.3d 487 (7th Cir. 2015), the Seventh Circuit

addressed the issue in a habeas petitioner’s challenge to Wisconsin’s sexually violent persons

statute. In analyzing Foucha, the Seventh Circuit underscored how the Supreme Court had

emphasized “that it had already held that a person committed because of an insanity verdict is

entitled to release when he recovers his sanity or is no longer dangerous.” Gilbert, 776 F.3d at

494. As the habeas petitioner in Gilbert was a “sexually violent person,” “dangerousness” was

effectively a foregone conclusion. Id., at 496, footnote 3. The Seventh Circuit would deny the

petitioner habeas relief, based in large part on its finding that the Wisconsin statutory scheme for

sexually violent persons specifically permitted individuals to be confined only so long as thy

were both mentally ill and dangerous, fully consistent with Foucha. Id. at 495.

       While the Seventh Circuit does not appear to have addressed Foucha’s requirement for

“dangerousness” for an insanity acquittee—and particularly whether “potential” or “future”

dangerousness is sufficient to justify ongoing commitment—the Eight Circuit’s decision in

Revels v. Sanders, 519 F.3d 734, 738 (8th Cir. 2008) presents a cogent analysis that should be

followed. In Revels, the Missouri Court of Appeals denied an insanity acquittee’s motion for

unconditional release from confinement because the acquittee could not show, “by clear and

convincing evidence, that (1) he is not presently mentally ill; (2) he is not dangerous; (3) he is




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not likely to suffer a mental disease; and (4) he is not likely to become dangerous in the

reasonable future.” Revels, 519 F.3d at 742. Thus, the Missouri state court held that the insanity

acquittee had to show by clear and convincing evidence that “he will not be a danger to himself

or others.” Id. at 738. The Eight Circuit found the application of the Missouri state statute to be

clearly contrary to Foucha, as it held as follows:

       Requiring an insanity acquittee to prove both a lack of present mental illness and
       dangerousness, is clearly contrary to Foucha, and violates the substantive
       protections of the Due Process Clause as defined by the Supreme Court. See 504
       U.S. at 77. Here, the Missouri Court of Appeals went even further, requiring
       Revels to also show the absence of a probability of a future mental illness and
       future dangerousness, stepping even further over the line drawn by the Supreme
       Court in Foucha.

Revels, 519 F.3d at 742. The Eighth Circuit’s opinion also described the state court’s ruling as

an unreasonable application of Foucha “in determining that the state could continue to hold

Revels based on future dangerousness alone,” in addition to being in “direction contradiction” of

Foucha. Id. at 743.

       Undersigned counsel acknowledges that the Fifth Circuit took a different approach to the

issue of “potential” dangerousness in Poree v. Collins, 866 F.3d 235 (5th Cir. 2017). There, a

divided panel held Foucha required the state to prove mental illness and dangerousness, with the

latter being “inherently predictive.”    Id.   The Fifth Circuit found that it was not “clearly

established” that a finding of “potential” dangerousness along with mental illness was

“insufficient to justify continued confinement.” Id. at 249. The panel reached that conclusion

over a strenuous dissent from Judge Patrick Higginbotham. Id. at 251-254.

       Judge Higginbotham viewed that confining an acquittee based on perceived “potential”

dangerousness, as opposed to dangerousness, was contrary to clearly established federal law. He




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then offered a number of reasons why the majority’s holding was flawed. He began by noting

the significance of the use of the qualifier “potential” to the dangerousness standard:

       The state court made no finding of dangerousness. Instead, it made a finding of
       potential dangerousness. What at first blush seems like an innocuous, semantic
       difference is actually a potent one: the state court's potentially dangerous standard
       renders the Supreme Court’s dangerousness requirement meaningless. “Potential”
       means merely “[c]apable of coming into being; possible.” But because it is
       possible for every insanity acquittee to become dangerous, the state court's
       standard lacks any limit. Although the Supreme Court has not explicitly decided
       how dangerousness may be determined, the dangerousness standard has a
       constitutional floor that a standard of potential dangerousness fails to reach.

       Under the state court’s standard, the state must only prove that the possibility
       exists for someone to become dangerous. This understanding of the
       dangerousness requirement lowers the bar to the point of conflicting with the
       clearly established law of Foucha and Jones. In relying on a standard of potential
       dangerousness, the state court “applie[d] a rule different from the governing law
       set forth in” those cases.

Poree, 866 F.3d at 252 (Higginbotham, dissenting) (emphasis in original and footnotes omitted).

Judge Higginbotham then identified “three missteps” in the majority’s holding.

       First, in Jones the Supreme Court discussed “potential dangerousness” in the context of

initial civil commitment of an insanity acquittee, and not for “assessing dangerousness” of one

seeking release. Id. at 252. Indeed, Jones itself noted that an acquittee is entitled to release

when he is sane or “no longer dangerous,” not “no longer potentially dangerous.” Second, the

majority’s use of “predictive” and “probable” were irrelevant because the state court instead

made a finding of “potential” dangerousness. Id. at 253. Third, the majority misapplied habeas

law by first concluding that federal law was clearly established, in that it required dangerousness,

and then finding that the state court did not err because “potential” dangerousness was not

clearly established. Id. at 254.

       Judge Higginbotham then reiterated the problem with a “potential” dangerous standard:




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       Because the state court's standard of potential dangerousness strips the
       dangerousness precondition of meaning, I would find that the state court's
       decision was contrary to clearly established Supreme Court law. Civil
       confinement is not punitive. It may not be used to accomplish what the criminal
       system could not—here, a life sentence. The systems are distinct in both
       justification and operation. They will remain so only if courts are faithful to the
       requirements of continued civil confinement. The state court decision went
       beyond those bounds in direct conflict with Supreme Court law. I dissent.


Poree, 866 F.3d at 254 (Higginbotham, dissenting). With Revels and Judge Higginbotham’s

bottom dissent in mind and, most importantly, the plain language of Foucha, which itself warned

against confining someone who had a personality disorder that “may lead” to criminal conduct,

clearly established federal law requires proof of dangerousness, and not some lower standard

based on “potential” dangerousness or the possibility that one “may” or “could be”

dangerousness based on hypothetical future circumstances. As discussed below, the Appellate

Court’s ruling not only imposed an unconstitutionally lower standard, it also placed the burden

on Webber to disprove a future risk of dangerousness, a nearly impossible task in and of itself.

           D. Webber is Entitled to Habeas Relief Because the Appellate Court’s
              Reversal of the Trial Court’s Order Granting Conditional
              Release Was Contrary to Foucha.

       As discussed above, a state court’s decision is “contrary to” clearly established law when

it applies a rule different than clearly established federal law, or if it decides a case differently

than the Supreme Court on materially identical facts. Williams, 529 U.S. at 404-06. Here, the

Trial Court concluded that Webber is not a danger to others. (Ex. A, pp. 7-8). The Appellate

Court did not disagree with that finding.5 Instead, the Appellate Court focused its review “of the

trial court’s findings as to whether [Webber] remains a danger to herself based on Kane’s



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  There was ample evidence supporting the conclusion that Webber was not a danger to others, including
the testimony of Dr. Kane as well as all of Webber’s testifying experts. (R. 2875, 1831, 1885, 1952).


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testimony.” (Ex. C, ¶42). Thus, the Appellate Court’s decision rested solely on Dr. Kane’s

opinion.

       The Appellate Court’s reversal of the Trial Court’s order of conditional release was

contrary to Foucha in several material ways. First, the Appellate Court never actually found that

Webber was dangerousness.        Rather, it found that Petitioner had not proven by clear and

convincing evidence, that she “would not reasonably be expected to inflict harm upon herself,”

which a different rule than Foucha’s requirement that the state show “dangerousness.” Second,

the Appellate Court made no finding that Webber’s purported risk of danger to herself was due

to her existing mental illness. Third, the Appellate Court’s exclusive reliance on Dr. Kane’s

testimony, at best, suggested that there could be a risk of future or potential dangerousness or

possible suicidal ideation, which is also different than Foucha’s standard.6

       The requirement that an insanity acquittee must be dangerous in order to be confined is

clearly established federal law. While the Appellate Court cited Foucha for the proposition that

due process prohibits the “continued confinement of a harmless, mentally ill person,” (Ex. C,

¶38), it never made a finding that Webber was dangerous. Rather, it concluded that she had not

demonstrated that she was not reasonably expected to be a danger to herself. (Ex. C, ¶54). On

its own, this critical error warrants habeas relief, as the finding applies a different standard than

clearly established federal law. Revels is directly analogous. As discussed above, the Eighth

Circuit granted habeas relief after the State court required an insanity acquittee to prove lack of

dangerousness. Doing so was contrary to Foucha and violated the individual’s substantive due

process rights. The same holds true here. Moreover, just as in Revels, the Appellate Court

6
 As discussed in Section F below, the Appellate Court unreasonably determined the facts based on Dr.
Kane’s testimony, in that Dr. Kane’s testimony was equivocal and conditioned on hypothetical facts. Her
concerns about potential dangerousness were also offset by safeguards that the Trial Court contemplated
and put in place in its conditional release order.


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required Webber to show that she was not reasonably expected to be a danger in the future,

“stepping even further over the line drawn by the Supreme Court in Foucha.” Revels, 519 F.3d

at 742. In effect, the Appellate Court required Webber prove that she was not a danger, even in

uncertain future circumstances. See Ex. C, ¶53 (“Undoubtedly, defendant would face the same

day-to-day problems and annoyances that every other person in our community faces.”).

       Second, the Appellate Court never determined that any purported danger, or even risk of

danger, was linked to an existing mental illness. Importantly, the Trial Court determined that

Webber’s symptomology reflected, at most, borderline personality disorder, consistent with Dr.

Kane’s diagnosis—which, as noted below, may even be unsupported by the record evidence. All

other diagnoses were in full remission—and had been so for years without medication. Webber

was not and could not have been found to be mentally ill based on illnesses that are in remission.

The Appellate Court did not disagree with the Trial Court’s finding of borderline personality

disorder. Nor did it conclude that Webber’s other diagnoses were not in remission, and was

somehow mentally ill on other grounds. However, the Appellate Court never linked Webber’s

existing borderline personality disorder to any dangerousness. Instead, the Appellate Court

relied almost exclusively on its disagreement with the Trial Court’s assessment of Webber’s

November 2017 suicide attempt as caused by situation stress related to the denial of her

conditional release petition.

       In particular, the Appellate Court asserted that it “does not agree with the trial court that

the defendant’s November 2017 suicide attempt was solely based on the denial of her discharge

petition, and we believe that defendant may remain a danger to herself.” (Ex. C, ¶ 51). See id.

(“The finding that defendant’s November 2017 suicide attempt was based solely on the denial of

her earlier discharge petition is not supported by the evidence presented.”).




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       As an initial point, the Appellate Court’s reliance on the suicide attempt from November

2017—approximately three-and-a-half years before its decision in June 2021—is a weak and

dubious measuring stick for present dangerousness. Notably, the Appellate Court pointed to no

evidence of attempted self-harm after November 2017. That includes after June 2018, when

Webber’s second conditional release petition was filed. The Trial Court granted that petition in

September 2019. (Ex. C). The Trial Court specifically acknowledged that “[i]n the almost two

years since her 2017 suicide attempt, there have been no indications of any further suicidal

ideation.” (C. 782). No witness testified as to any dangerous conduct by Webber following the

November 2017 suicide attempt. Moreover, the Trial Court astutely observed that Webber’s first

suicide attempt from 2010 occurred at the time of the NGRI offense when she was psychotic.

(C. 782).   However, at the time of the 2017 suicide attempt, Webber’s psychosis was in

remission (Ex. N5, R. 2871, Ex. L5. R. 1858, 1893, Ex. L6, R. 1952), and it stood to reason that

the suicide attempt should not be attributed to her mental health. Rather, as multiple witness

stated, the November 2017 suicide attempt was situational and related to learning that the

petition for discharge was denied.

       But even if the November 2017 suicide attempt was a reasonable starting point to

determine whether Webber was dangerous to herself, the Appellate Court made no attempt to

link that historic event to any existing mental illness. The Appellate Court referenced Dr. Kane’s

diagnosis of borderline personality disorder, but only in criticizing the Trial Court’s apparent

reliance on Dr. Kane’s diagnosis of borderline personality disorder makes its finding that

defendant is no longer a danger to herself unreasonable and seems to selectively ignore Kane’s

testimony as a whole.” (Ex. C, ¶51). That criticism of the Trial Court’s analysis, which as

discussed below lacks merit, does not reflect an independent evaluation or finding that Webber




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was a danger to herself based on an existing mental illness. While the Appellate Court also

referenced Dr. Kane’s “concerns regarding defendant’s November 2017 suicide attempt based on

this diagnosis” (Ex. C, ¶51), it still made no effort to find that there was a present risk of self-

harm caused by borderline personality disorder. Rather, the Appellate Court’s rationale was

entirely speculative and hypothetical—perhaps by necessity because that was how Dr. Kane

couched her testimony. She repeatedly suggested that Webber “could be” a danger to herself

under certain conditions, such as if she encountered stressors without a support network in place.

(See, e.g., Ex. N4, R. 2784).

       Indeed, as the third point of error, rather than finding that Webber was a danger to herself

based on a mental illness, the Appellate Court consistently referenced Webber’s “potential” for

dangerousness. The Appellate Court’s reliance on the “potential” standard may stem from its

reliance on the factors set forth in 730 ILCS 5/5-2-4(g), namely subsection (g)(11), which asks

the trial court to determine the “defendant’s potential to be a danger to himself, herself, or

others.” Importantly, that and the other factors set forth in 730 ILCS 5/5-2-4(g) are permissive

considerations that courts may consider when determining whether an insanity acquittee may be

discharged or conditionally released.      They are not independent gatekeeping factors, and

certainly do not override federal law. However, the Appellate Court’s focus on Webber’s

“potential” dangerousness to herself plainly illustrates how it applied a rule different than clearly

established federal law. That much is evident in the Appellate Court’s references to how Webber

“may remain a danger to herself” (Ex. C, ¶51); how Dr. Kane believed Webber’s “potential for

self-harm was greater on conditional release” than in custody. (Ex. C, ¶51).            Reliance on




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speculative danger is directly contrary to Foucha’s requirement for dangerousness.7 From this

standpoint, Revels is nearly indistinguishable.

            E. Webber is Entitled to Habeas Relief Because the Appellate Court’s
               Reversal of the Trial Court’s Order Granting Conditional Release
               Unreasonably Applied Foucha.

        A state court’s decision is an “unreasonable application” of clearly established federal

law when it identifies the correct legal standards but unreasonably applies them to the facts in a

particular case. As noted above, the Appellate Court cited Foucha for the proposition that, “[a]s

a matter of due process, continued confinement of a harmless, mentally ill person is

unconstitutional.” (Ex. C, ¶ 38). However, for the reasons discussed above, the Appellate Court

applied a different standard than Foucha to find that Webber met the criteria of dangerousness or

“potential” or future dangerousness, and thus rendered a decision contrary to Foucha.

        But even if it could be said that the Appellate Court somehow applied Foucha, then, and

also for the reasons set forth above, its application was entirely unreasonable. Foucha prohibits

the ongoing commitment of an insanity acquittee who is not dangerous. In relying on Dr. Kane’s

testimony, the Appellate Court ordered the commitment of Webber based on its belief that

Webber “may” be dangerous to herself in the future if faced with stress and without proper

therapeutic supports.      Not only does that reasoning lie “well outside the boundaries of


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  It is worth noting that the Appellate Court’s reliance on the potential risk of future dangerousness as a
gatekeeping factor for conditional release is also inconsistent with Illinois law. See People v. Bledsoe,
2015 IL App (1st) 133734-U, ¶ 25 (citing People v. Bethke, 2014 IL App (1st) 122502, ¶ 18, 379 Ill. Dec.
271, 6 N.E.3d 348) (“A defendant committed upon an NGRI disposition may be held only so long as he is
both mentally ill and dangerous, and it is improper to require a guarantee of future behavior or
harmlessness.”). Additionally, Illinois courts have directly refuted the Appellate Court’s apparent
reliance on the potential that Webber may have difficulty adjusting to the stress of life while on
conditional release. People v. Robin, 312 Ill. App. 3d 710, 716, 728 N.E.2d 736, 741 (1st Dist. 2000)
(“The possibility that an insanity acquittee might have difficulty adjusting to the stresses of
noninstitutional life is insufficient to sustain the denial of conditional discharge.”); see also People v.
Grant, 295 Ill. App. 3d 750, 760, 692 N.E.2d 1295, 1302 (1st Dist. 1998).




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differences of opinion” (Long, 809 F.3d at 312) in terms of applying Foucha, it also resembles

the problematic rationale rejected in Foucha itself.     There, the Supreme Court rejected the

state’s attempt to hold an insanity acquittee who “could be shown to have a personality trait that

may lead to criminal conduct.” Foucha, 504 U.S. at 82.

           F. The Appellate Court Unreasonably Determined Facts in Light of the
              Evidence in Finding that Webber Must be Confined as a Potential Danger.

       Habeas relief is also warranted because the Appellate Court made an unreasonable

determination of the facts in light of the evidence and record. See 28 U.S.C. §2254(d)(2). As

discussed above, relief on this theory is appropriate when the state court’s findings are

“unsupported by sufficient evidence” (Ben-Yisrayl, 431 F.3d at 1047-48) and are ultimately

“objectively unreasonable.” As discussed below, the Appellate Court’s conclusion that Webber

was “potentially” dangerous or “may” pose a danger to herself if conditionally released from

IDHS custody is soundly rebutted by clear and convincing evidence to the contrary. 28 U.S.C.

§2254(e)(1); Winfield v. Dorethy, 956 F.3d 442, 452 (7th Cir. 2020).

       The Appellate Court’s determination of dangerousness turned entirely on its

interpretation of Dr. Kane’s testimony. See Ex. C, ¶42 (“we will focus our review of the trial

court’ findings as to herself based on Kane’s testimony.”). Dr. Kane spent just five hours with

Webber in two separate settings. She conducted no testing of Webber. She also reviewed the

IDHS progress reports and other medical records. But she never even reviewed the thorough

release and treatment plan that Webber put together, which included, among other things, proof

of funds, a residential lease, and an affidavit from Dr. Laura Bauhof, a licensed clinical

psychologist who agreed to provide treatment and additional referrals—all of which Webber

herself secured. (See Ex. Q). In stark contrast, Judge Bakalis had spent nearly 10 years with

Webber’s case and personally observed her demeanor, presided through two conditional release



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hearings, heard multiple expert witnesses from both the State and Webber, and review all the

IDHS progress reports as well as numerous other medical reports submitted by Webber. He also

found Webber not guilty by reason of insanity after a bench trial in 2012 and denied Webber’s

first petition for conditional release (which was affirmed by the Appellate Court). Judge Bakalis

also benefited from interacting with Webber directly, both as a represented party and pro se

litigant over the years. He further considered Webber’s release and treatment plan that Dr. Kane

never reviewed. (Ex. Q).

       Put simply, the Trial Court had extensive experience over the case, the subject matter,

and most importantly the arc of Webber’s experiences in IDHS. He reasonably concluded that

Webber was never going to receive adequate mental health treatment in IDHS. That finding was

underscored by the testimony of Dr. Malis, who stated that Webber refused to seek help from

him due to a complete breakdown of trust and lack of rapport, and assigning another lead

psychiatrist was impossible. Ordering conditional release from IDHS was not only soundly

based on the evidence and consistent with Foucha and Webber’s liberty interests—it was the

humane thing to do.

       The Appellate Court’s decision to keep Webber confined is “objectively reasonable”

because it cherry-picks even from Dr. Kane’s testimony. Even Dr. Kane admitted that Webber

would likely seek help from a therapist whom she trusted. The Trial Court asked Dr. Kane

directly whether Webber had “the skills necessary to seek out the help she would need in an

outpatient basis.” Dr. Kane responded, “I think that if [Webber] really trusted a therapist, she

would probably seek them out.” (Ex. N5, R. 2870). The Trial Court accepted a carefully crafted

release plan that was designed to surround Webber with supports of trusted professionals.

Indeed, after the Trial Court signaled its intent to grant Webber’s petition for conditional release




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in September 2019, it prudently waited 60 days until December 2019 to ensure that Webber had

the proper safeguards in place prior to her conditional release. The Appellate Court ignored the

significance of that 60-day period and the importance of Webber’s efforts in establishing a

support network outside of IDHS.

       Instead, and while also ignoring the Trial Court’s extensive background and experience

and exercise of sound judgment, the Appellate Court effectively found that Dr. Kane’s testimony

was unassailable and that the Trial Court’s refusal to accept all of Dr. Kane’s conclusions—

particularly as to the potential for dangerousness—was against the manifest weight of the

evidence and thus reversible. The Appellate Court’s rationale is rebutted by the record as a

whole and is objectively unreasonable.

       First, the Appellate Court’s rationale turned exclusively to the opinion of Dr. Kane, who

expressed some concerns about Webber’s risk of danger to herself if granted conditional release.

Those concerns primarily related to Webber’s purported lack of insight into her mental illness

and questions about her ability to seek help from mental health professionals if needed,

especially when confronted with the stresses of daily life. The Appellate Court somehow

determined that those open questions reflected Webber’s potential dangerousness and compelled

her ongoing confinement. Those findings cannot be reconciled with the full record before the

Trial Court, which included testimony detailed wellness and treatment plans (Ex. Q). Indeed,

serious questions can be made even about Dr. Kane’s conclusions that Webber had borderline

personality disorder when she conducted absolutely no testing of Webber and when the record

established that the doctors who actually tested Webber never found borderline personality

disorder.   Nor was there a documented history of borderline personality disorder that the

Appellate Court cited in its opinion.    Setting aside those concerns, the Appellate Court’s




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conclusion that Webber would face the “same day-to-day problems and annoyances that every

other person in our community faces” completely overlooked how Webber was enduring—and

continues to live through what she describes as “hell” in the mental facility. She testified about

being physically attacked over thirty times, having her room subjected to regular searches, and

not having basic access to the gym or outdoors. These experiences involve far greater stress than

what Webber would face in the “community.”

       Moreover, the Appellate Court simply ignored the fact that Dr. Kane did not and could

not have reviewed the actual conditional release plans that Webber herself arranged and then

presented to the Trial Court for its approval. That is because Dr. Kane testified before Webber

presented her release plan, which included a commitment from a licensed clinical psychologist

who agreed to provide therapy to address her “emotional and mental health needs as [Webber]

transitions from custody” (Ex. Q, A-66); a Community Forensic Monitoring Program under

which a licensed professional would submit reports to the Trial Court, including if Webber failed

to comply with her conditional release plan. (Ex. Q, A-68).

        The Appellate Court also ignored the Trial Court’s carefully crafted release plan that

included a step-down program that included the measures, checks, and safeguards that arguably

went above and beyond even what Dr. Kane suggested would be sufficient to warrant Webber’s

release. For instance, Dr. Kane expressed concerns about Webber decompensating from the

stress of finding a place to live and supporting herself financially. (Ex. N4, R. 2782). However,

Webber presented the Trial Court with evidence that she had made living arrangements upon

release and had a bank account with a $10,000 balance for rent and living expenses. (Ex. Q, A-

49-64; Ex. N6, R. 2947-48). The Appellate Court ignored that evidence, which renders its

decision objectively unreasonable based on the record as a whole.




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       Dr. Kane opined that Webber did not have a trusted treatment team, which was important

to safeguard against her potentially harming herself at some point in the future. (Ex. N5, R.

2870, 2868). Yet, the Trial Court was presented with evidence that Webber had arranged for

outpatient mental health treatment with a psychologist who agreed to provide treatment and

progress plan reports to the Court and IDHS. This provider also agreed to notify the State if

Webber violated the conditions of her release. (Ex. N6, R. 2933; 2963; Ex. Q, A-66-68).

Webber also agreed to attend weekly meetings with a local branch of the National Alliance on

Mental Illness (NAMI). (Ex. N6, R. 2963).

       The Appellate Court found significant how Dr. Kane also emphasized the importance of

Webber identifying triggers to avoid the potential for self-harm. (Ex. N3, R. 2746). However,

the Trial Court ultimately heard evidence that Webber agreed to report changes in her mental

health status to trusted mental health providers, particularly regarding symptoms of depression,

mania, hypomania, psychosis, and suicidal or homicidal ideations. (Ex. P, Sup. Sec. C. 13).

Relatedly, the Appellate Court also credited Dr. Kane’s testimony that Webber needed to

improve her coping skills in order to prevent another self-harm incident. (Ex. N3, R. 2747). But

the Appellate ignored the fact that the Trial Court reviewed Webber’s treatment and release plan

that included action-steps to assist her transition to the community and to take action if her

mental health declined. (Ex. I2, C. 869-887; Ex. Q). The Appellate Court also emphasized Dr.

Kane’s testimony regarding the risk of relapse of alcohol abuse in the community. (Ex. N5, R.

2836). But the Trial Court’s conditional release order prohibited Webber from consuming

alcohol and also required her to participate in counseling and random alcohol and drug testing.

(Ex. Q, A-32-33, 35). The Appellate Court’s exclusive emphasis on Dr. Kane’s concerns of




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potential risks that could possibly lead to self-harm absent certain safeguards ignored how the

Trial Court ultimately put those safeguards in place in its conditional release order.

        Put simply, the Appellate Court relied on Dr. Kane’s concern that, “if [Webber] is not in

treatment or some form of treatment being monitored, that there is the potential there that she

could harm herself,” (Ex. C, ¶24) while ignoring that the core stated purpose of the Trial Court’s

conditional release order was to extricate Webber from IDHS—where she attempted self-harm

and had no trusted doctors—to a setting where she would have access to trusted mental health

professionals.   Thus, the Appellate Court’s selective reliance on Dr. Kane’s concerns without

acknowledging how the record established that the Trial Court addressed those concerns resulted

in an objectively unreasonable determination of the facts in light of the record.

V.      REQUEST FOR AN EVIDENTIARY HEARING

        Webber contends that the record before the Court is sufficient to warrant habeas relief,

and that further delay necessitated by an evidentiary hearing would cause further harm to her

Due Process and liberty interests. But if the Court is not prepared to grant Webber a writ on the

record as it stands, counsel submits that the record should be developed in greater detail. District

courts have considerable discretion as to discovery matters. See Bracy v. Gramley, 520 U.S.

899, 909 (1997). Discovery should be granted when “good cause” exists under Habeas Rule

6(a). “Good cause” exists when specific allegations “show reason to believe that the petitioner

may, if the facts are fully developed, be able to demonstrate that he is . . . entitled to relief.’”

Bracy, 520 U.S. at 908-09 (quoting Harris v. Nelson, 394 U.S. 286, 299 (1969)). Where good

cause exists, “‘it is the duty of the courts to provide the necessary facilities and procedures for an

adequate inquiry.’” Id. The request for an evidentiary hearing may very well depend on the




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Attorney General’s response and position on Webber’s claims and its position on if any facts are

in dispute and the development of the record. 28 U.S.C. §2254(e)(2).

VI.    CONCLUSION

       Based on the foregoing, Petitioner Marci Webber respectfully requests that this Court: (1)

Vacate the Appellate Court’s Order of June 9, 2021; (2) Issue a Writ of Habeas Corpus relieving

Webber of the illegal restraint of her liberty because that would permit her to be released; (3)

Order and conduct an evidentiary hearing at which time proof may be offered in support of the

allegations of this Petition if relief cannot be granted on the pleadings; and, (4) in the event of

denial of relief, issue a Certificate of Appealability so that Webber may elect to pursue the

claims raised herein to the Seventh Circuit Court of Appeals.


                                                     Respectfully submitted,


                                                     /s/ Joshua G. Herman
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                               CERTIFICATE OF SERVICE

       Joshua G. Herman, Attorney at Law, hereby certifies that the foregoing was served on
April 15, 2022, in accordance with Fed.R.Crim.P. 49, Fed.R.Civ.P.5., LR 5.5, and the General
Order on Electronic Case Filing (ECF) pursuant to the district court’s system as to ECF filers.


                                                   /s/ Joshua G. Herman
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